              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA
                                  CRIMINAL NO. 21-132-HB
v.

MURTY VEPURI,
ASHVIN PANCHAL,
KVK-TECH, INC.




MEMORANDUM IN SUPPORT OF DEFENDANT KVK-TECH, INC.’S MOTION TO
            DISMISS THE SUPERSEDING INDICTMENT
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                                                                   v
                                      INTRODUCTION

       This case arises out of events occurring more than ten years ago in connection with KVK

Tech’s (KVK) use of an active pharmaceutical ingredient (API) for a generic antihistamine drug

called hydroxyzine hydrochloride (hydroxyzine). In 2010, one of KVK’s API suppliers sourced

API from a Belgian manufacturer (UCB) that had, in turn, obtained material for the API from a

subcontractor, Dr. Reddy’s Laboratories (DRL). There was not then, nor has there ever been, any

allegation that the API was unsafe or ineffective. The FDA already had in its files the very

information about the API the government is prosecuting defendants for allegedly failing to

disclose. FDA never even issued a warning letter, and it allowed KVK to resume distributing

hydroxyzine made with the API.1

       Now, nearly a decade later, the government has brought a two-count Superseding

Indictment (the “Indictment”) against KVK. See Dkt. 4 (“Indictment”). Count One alleges that

KVK, along with co-defendants Murty Vepuri and Ashvin Panchal, conspired to (a) defraud FDA;

(b) introduce an “unapproved new drug” in violation of the Federal Food, Drug, and Cosmetic Act

(FDCA); and (c) make false statements in connection with the API containing material that KVK’s

supplier’s manufacturer had sourced from DRL. Count Two alleges that KVK engaged in mail

fraud in connection with a 2014 sale of $400 worth of hydroxyzine containing the API. The Court

should dismiss both counts of the Indictment.

       Both the conspiracy count and the mail fraud count are deficient as a matter of law because

they are premised on a fundamental misunderstanding of FDA requirements applicable to the

change of a supplier’s API manufacturing site. The Indictment’s core legal theory is that KVK


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 Were this case to proceed to trial, KVK would show that FDA’s own testing confirmed that the
material from DRL was safe, effective, and fully interchangeable with the material made in-house
by the Belgian manufacturer—product FDA agrees was approved.

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both conspired to defraud FDA and committed mail fraud because (a) it failed to timely file the

proper forms disclosing the subcontractor change, and (b) by failing to file such forms, it conspired

to, and did, introduce an “unapproved new drug” into interstate commerce. But neither premise of

the government’s theory is correct. As a matter of law, KVK was not required to notify FDA

regarding its supplier’s manufacturer’s use of a new subcontractor. And even if KVK violated such

a requirement, as a matter of law such paperwork deficiencies did not render the hydroxyzine an

“unapproved new drug.” As discussed in more detail below, KVK at all times had the appropriate

approval from FDA to distribute the hydroxyzine, and FDA never withdrew that approval even

after learning of the alleged paperwork issues underlying this Indictment. The Indictment simply

gets the law wrong by assuming both that KVK committed regulatory reporting violations and that

such violations could transform KVK’s approved hydroxyzine into an “unapproved new drug.”

Because at no time did KVK interfere with FDA’s lawful regulatory functions or distribute

unapproved hydroxyzine, there was no conspiracy to defraud FDA, violate the FDCA, or lie to

FDA. There was also no mail fraud.

       The government’s fundamental legal error is not the only basis to dismiss the Indictment.

Under longstanding legal principles, the conspiracy count also fails because KVK cannot be

charged with conspiring only with its own agents. And the mail fraud count fails because even if

the hydroxyzine were an “unapproved new drug” because material had been sourced from a

subcontractor, KVK disclosed its use of that material when it voluntarily, and publicly, recalled

the hydroxyzine in 2013, well before the customer identified in the Indictment paid for the product.

                                         BACKGROUND

       A.      Regulatory Background

       In the United States, drugs are regulated under the FDCA and its implementing regulations.

Under Section 505 of the FDCA, a drug manufacturer may market a drug only after it has filed,
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and FDA has approved, a new drug application (NDA) demonstrating that the drug is safe and

effective for its intended use. See 21 U.S.C. § 355(a). For generic drugs, the application is known

as an “abbreviated new drug application,” or “ANDA.” See id. § 355(j).

       Among other things, ANDAs must include information regarding the composition,

manufacture, and specifications for the drug and its API (i.e., “drug substance”). See 21 C.F.R.

§ 314.50(d). A drug maker that manufactures both the API and the finished drug in-house generally

will have all this information in its possession and can include it directly in its ANDA. See id.

Many drug makers, however, rely on third parties to manufacture API, and those third parties may

treat their manufacturing processes—i.e., the recipes for their API—as confidential. See FDA,

Drug Master Files (DMFs), https://bit.ly/3Fial2t (last visited Nov. 30, 2021). In such

circumstances, FDA permits the third-party API manufacturer to submit to FDA a “drug master

file” (DMF) that contains all the information FDA needs about the API, see 21 C.F.R. § 314.420(a),

and the drug maker can then incorporate the DMF by reference into its ANDA, see id.

§ 314.430(a). An ANDA is deemed to include “all data and information . . . incorporated by

reference in the [ANDA], including . . . drug master files.” Id.

       Once FDA approves an ANDA, certain types of changes to the information included in the

ANDA require further FDA approval before they can be implemented, other types of changes may

simply require notification to FDA, and still other changes require neither approval nor

notification. A regulation prescribes the paperwork each type of change requires. See id. § 314.70.

Importantly, in all circumstances, notification to FDA is required only if the change at issue

changes a “condition established in an approved NDA beyond the variations already provided for

in the NDA.” Id. § 314.70(a)(1)(i). FDA guidance has addressed when manufacturing sites are a

“condition established in an approved NDA,” id., explaining that the manufacturing sites in this



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category are those “owned by the applicant or contract sites used by an applicant.” FDA, Guidance

for Industry: Changes to an Approved NDA or ANDA 8 (2004) (emphases added). The guidance

does not put sites used by the applicant’s contract supplier’s manufacturer’s subcontractor in this

category.

          With regard to the government’s allegation that KVK manufactured an unapproved new

drug, there are circumstances under which FDA can withdraw approval of an ANDA, which are

set forth in Section 505(e) of the FDCA. See 21 U.S.C. § 355(e). Section 505(e) prescribes both

conditions under which FDA must withdraw approval and conditions under which it may do so.

See id. The latter set of conditions includes “repeated[] or deliberate[]” failures to make certain

“required reports,” id.—a category that does not include reports required by 21 C.F.R. § 314.70.

See 21 C.F.R. § 314.150(b)(1). Regardless of whether withdrawal is mandatory or optional,

however, FDA generally may withdraw approval only “after due notice and opportunity for

hearing to the applicant.” 21 U.S.C. § 355(e). The only exception is if a drug poses “an imminent

hazard to the public health.” Id. In that case, the Secretary of Health and Human Services may

“suspend the approval of [an ANDA] immediately,” but must “give the applicant prompt notice of

his action and afford the applicant the opportunity for an expedited hearing.” Id. Unless FDA

undertakes these procedures, an approval “remains effective.” Weinberger v. Hynson, Westcott &

Dunning, Inc., 412 U.S. 609, 633 (1973). The government does not allege that KVK’s approval

was ever withdrawn.

          B.     Factual and Procedural Background2

          KVK is a generic pharmaceutical company located in Newtown, Pennsylvania. Indictment

at 1 ¶ 1. In 2006, KVK submitted ANDAs to manufacture hydroxyzine, a prescription anti-


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    KVK accepts the allegations in the Indictment as true for purposes of this motion to dismiss.

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histamine indicated for treatment of anxiety and tension, which FDA approved the following year.

Id. at 1 ¶ 2; id. at 4–5 ¶ 12. The API in hydroxyzine is hydroxyzine hydrochloride (hydroxyzine

API). Id. at 1 ¶ 2. In relevant part, KVK’s ANDAs identified Interchem, Inc. as the supplier of

hydroxyzine API and UCB S.A., a Belgian company, as the manufacturer. KVK incorporated by

reference UCB’s DMF, and the ANDAs were approved on this basis. See id. at 4–5 ¶ 12.

        In 2008, UCB began to subcontract production of hydroxyzine material to a Dr. Reddy’s

Laboratories (DRL) facility. DRL produced the material according to the specifications and

processes set forth in UCB’s DMF. The material DRL produced was not the finished API. UCB

continued to perform testing and quality assurance procedures for the material, determine whether

to release it as finished API, and ship the API under the UCB label. All of these additional testing

and quality assurance steps were performed in UCB’s Belgium facilities listed in the approved

ANDA, and only after these steps were completed did the material become finished API that was

releasable and available for sale as “UCB hydroxyzine hydrochloride,” as provided for in the

ANDA. KVK was not involved in UCB’s decision to secure the underlying material from DRL,

and was notified by UCB only after the fact. UCB also updated its DMF and notified FDA of this

change to its DMF. Thus, FDA had written notice that UCB was using the material from the DRL

subcontractor well before KVK distributed finished drugs containing the material.

        According to the Indictment, in 2010, KVK ordered API from UCB that was made from

material produced at the DRL facility, see id. at 7 ¶ 1, though the API was tested, released, and

shipped by UCB from Belgium. KVK received the shipments in January, March, and May 2011.

Id. at 8 ¶¶ 2, 4.

        In June 2011, after KVK received those shipments, FDA issued a warning letter to DRL

regarding alleged regulatory violations at its facility. Id. at 9 ¶ 7. The warning letter referenced



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various DRL materials, but not hydroxyzine material. The following month, FDA issued an import

alert prohibiting any further importation into the United States of materials from DRL. Id. at 9 ¶ 8.

KVK’s API was unaffected by this import alert because the import alert was not retroactive and

KVK’s API had been shipped and received before the alert went into effect. Despite the fact that

the import alert did not impact hydroxyzine API that KVK had already received, UCB and KVK

undertook testing to confirm that the hydroxyzine material received prior to the import alert was

safe and met all applicable specifications. Following this testing, KVK distributed the hydroxyzine

over the course of the next two years, from April 2011 through December 2013. Id. at 9–10 ¶¶ 8–

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       In June 2013, after the import alert had been lifted, FDA detained a shipment of

hydroxyzine API to KVK manufactured with material originally produced in part at DRL but

released by UCB as its finished API after testing. Id. at 10 ¶ 10. Several months later, during an

inspection of KVK’s facilities, FDA inspectors raised concerns about the DRL material. See id. at

11–12 ¶ 14. In response, in December 2013, KVK voluntarily conducted a recall of all hydroxyzine

with material produced at DRL. See FDA, Enforcement Report – Week of Jan. 29, 2014,

https://www.accessdata.fda.gov/scripts/ires/index.cfm (last visited Nov. 30, 2021) (“FDA,

Enforcement Report”). Pursuant to FDA regulations that apply to voluntary recalls, KVK sent

notice of the recall to all affected customers, see 21 C.F.R. § 7.49(a), as well as to FDA, informing

them that the hydroxyzine they had received contained material from “Dr. Reddy’s Laboratories

in Mexico” and that they would be reimbursed for the cost of the product. See Exs. A–C. After

receiving this voluntary recall notice, at least one of KVK’s customers—AmerisourceBergen, one




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of the world’s largest drug wholesalers—nevertheless issued a $393.97 payment for the affected

hydroxyzine.3

         FDA subsequently conducted an inspection of KVK, where it learned nearly all the relevant

facts that form the basis of the current Indictment. After that inspection, FDA decided that no

warning letter or any other enforcement action was called for in connection with the alleged

reporting lapse that is the basis for this criminal case, even though FDA has numerous enforcement

options when it sees a basis to proceed. See, e.g., 21 U.S.C. § 355(e) (setting forth circumstances

when a drug’s approval may be withdrawn); 21 C.F.R. § 1.980 (describing FDA’s authority to

detain drugs believed to be adulterated or misbranded).

         Nevertheless, on June 10, 2021—nearly eleven years after UCB amended its DMF to notify

FDA of its use of DRL as a subcontractor, eight years after FDA first learned that KVK had used

material from DRL in its hydroxyzine, and nearly eight years after KVK voluntarily recalled all

hydroxyzine in which such material was used—the government indicted KVK on two counts based

on that conduct. Count One charges KVK and two associated individuals, Mr. Vepuri and Mr.

Panchal, with violating 18 U.S.C. § 371 by conspiring to (1) defraud the United States by impeding

FDA’s work to ensure that drugs marketed in the United States are safe and effective for their

intended use; and (2) commit an offense against the United States by (i) introducing, delivering

for introduction, and causing the introduction or delivery for introduction of unapproved new

drugs, in violation of 21 U.S.C. §§ 331(d) and 355(a); and (ii) making materially false statements

and representations, and falsifying and concealing material facts, in a matter within FDA’s

jurisdiction, in violation of 18 U.S.C. § 1001. Indictment at 6 ¶ 16. Count One alleges that KVK

violated regulatory requirements that it obtain FDA approval of its use of material from DRL; that


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    This post-recall payment is the mailing charged in Count Two. Indictment at 16 ¶ 5.

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KVK, through Vepuri and Panchal, provided FDA officials with false explanations for those

violations; and that, as a result of those violations, the hydroxyzine manufactured with DRL

material was an unapproved new drug. See id. at 7 ¶ 18; id. at 7–14 ¶¶ 1–19. It also alleges that

Vepuri misrepresented his relationship to KVK. See id. at 7 ¶ 17.

       Count Two charges KVK—and KVK alone—with mail fraud, in violation of 18 U.S.C.

§ 1341. Specifically, Count Two alleges that KVK concealed from its customers that the

hydroxyzine manufactured with DRL material “was not approved by the FDA and could not be

lawfully distributed in interstate commerce,” and through this alleged fraud received a payment in

January 2014 of $393.97 from AmerisourceBergen, a company that recorded $119 billion in

revenue that year. Id. at 15–16 ¶¶ 4–5; see AmerisourceBergen Corp., Annual Report (Form 10-

K) at 21 (Nov. 25, 2014), https://bit.ly/3cmVYNQ.

                                      LEGAL STANDARD

       Under Rule 12(b)(3) of the Federal Rules of Criminal Procedure, a defendant may move to

dismiss an indictment for failure to state an offense. A defendant can bring such a challenge in “at

least” two ways. United States v. Stock, 728 F.3d 287, 292 (3d Cir. 2013). First, a defendant may

contend the indictment “fails to charge an essential element of the crime.” Id. (internal quotation

marks omitted). And second, a defendant may argue that “the specific facts alleged . . . fall beyond

the scope of the relevant criminal statute, as a matter of statutory interpretation.” Id. (omission in

original) (internal quotation marks omitted). In assessing such arguments, a court must “accept as

true the factual allegations” in the indictment. United States v. Brennan, 452 F. Supp. 3d 225, 231

(E.D. Pa. 2020) (internal quotation marks omitted).




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                                           ARGUMENT

I.      The Indictment Should Be Dismissed Because Both Counts Turn on Alleged
        Regulatory Violations that Do Not Exist.

        The fundamental defect in the Indictment is that both counts rest on the same flawed legal

premise: that KVK allegedly violated regulatory requirements when it distributed hydroxyzine

made with DRL material without notifying FDA or obtaining its approval. On this premise, the

government constructs two basic theories of liability. First, the government alleges that KVK’s

regulatory violations rendered its hydroxyzine an unapproved new drug. See Indictment at 8 ¶ 5.

KVK allegedly conspired to distribute this unapproved drug, leading to the charge of conspiring

to violate 21 U.S.C. §§ 331(d) and 355(a), see id. at 6 ¶ 16(b)(1), and allegedly concealed that the

drug was unapproved from its customers, leading to the mail fraud count, see id. at 15 ¶ 4. Second,

the government alleges KVK lied to FDA about how these regulatory violations came about, see

id. at 7 ¶ 18, leading to the charge of conspiring to defraud the United States by obstructing FDA’s

“lawful function[]” of regulating drugs distributed in the United States, see id. at 6 ¶ 16(a), as well

as to the charge of conspiring to make false statements to, and conceal material facts from, FDA,

see id. at 6 ¶ 16(b)(2).

        The problem for the government is that KVK’s conduct did not actually violate any

regulatory requirements. Moreover, even if it did, such violations as a matter of law would not

have transformed KVK’s hydroxyzine into an unapproved new drug. As discussed below, without

this regulatory foundation, the government cannot establish the essential elements of each offense,

and therefore the allegations fall outside the scope of the relevant criminal statutes.

        A.      KVK Did Not Commit Any Underlying Regulatory Violation.

        Both counts should be dismissed because they depend on regulatory violations that do not

exist. The Indictment alleges that KVK violated “FDA regulatory requirements,” id. at 7 ¶ 18, by


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failing to seek FDA approval before using DRL material and by failing to file a field alert report

after FDA issued an import alert for DRL’s facility, see id. at 8 ¶ 2; id. at 9 ¶ 8; see also 21 C.F.R.

§§ 314.80, 314.81. These alleged regulatory violations are the linchpin of the government’s case.

Without them, the basis for the government’s allegation that KVK’s hydroxyzine was an

unapproved new drug crumbles, requiring dismissal of the mail fraud and conspiracy to distribute

unapproved new drug charges. And without them, the government cannot establish the other

objects of the alleged conspiracy—specifically, that KVK conspired to obstruct the “lawful

functions” of FDA, see Indictment at 6 ¶ 16(a), and to falsify or conceal “material” facts, in

violation of 18 U.S.C. § 1001, see id. at 6 ¶ 16(b)(2). Yet the government’s allegation that KVK

violated regulatory requirements rests on a misunderstanding of the applicable regulatory

provisions. KVK did not violate any actual regulatory requirements, and therefore the government

cannot establish any alleged object of the conspiracy count, or the scheme to defraud element of

the mail fraud count. Accordingly, both counts should be dismissed in their entirety.

               1.      KVK Was Not Obligated Under 21 C.F.R. § 314.70 To Obtain FDA’s
                       Approval When It Continued to Use UCB API After UCB Sourced
                       Material from DRL.

       The government first alleges that KVK violated 21 C.F.R. § 314.70.4 Under that regulation,

KVK was required to notify FDA about “each change in each condition established in an approved

NDA beyond the variations already provided for in the NDA.” 21 C.F.R. § 314.70(a)(1)(i). KVK



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  Although the Indictment does not expressly cite 21 U.S.C. § 356a or its implementing regulation,
21 C.F.R. § 314.70, these provisions are plainly the source of some of the “regulatory
requirements” KVK allegedly violated. Indictment at 7 ¶ 18. In particular, these provisions set
forth the circumstances when a drug maker must file a Post Approval Supplement to obtain FDA
approval of a change in how it manufactures a drug. See 21 C.F.R. § 314.70(b); see also Indictment
at 5 ¶ 13 (alleging that KVK was required “to file a Post Approval Supplement (‘PAS’) to obtain
agency approval prior to distributing Hydroxyzine made with [hydroxyzine] API not approved in
its ANDAs”).

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did not violate this requirement for three reasons: first, the switch to using DRL material did not

change any “condition established” in KVK’s ANDA; second, even if it did, FDA received the

required notice; and third, the regulation is simply too unclear to provide parties the fair notice

constitutionally required for violations to result in criminal liability.

        First, the government is wrong that KVK’s use of UCB API produced with material from

DRL changed a condition established in its ANDA and therefore required FDA approval. See

Indictment at 7–8 ¶¶ 1–2. The only “conditions of approval” in KVK’s ANDA relating to API

were (i) its sourcing of API from UCB under a cross-referenced DMF; (ii) the method of

manufacturing the API; (iii) the established specifications for the API; and (iv) the testing of the

API by UCB and KVK to ensure it met the approved specifications before release for

manufacturing of the final drug product. Except for one change not relevant here (which KVK

duly reported), none of those conditions changed. DRL produced material according to UCB’s

methods and specifications, and, as noted, UCB remained responsible for the final API, including

quality management, quality testing, and product release decisions. Thus, because the switch to

DRL’s material did not entail any change to any “condition established in [KVK’s] NDA,” 21

C.F.R. § 314.70(a)(1)(i), KVK was not required to notify FDA of the switch.

        The government, in essence, contends that by using DRL’s material, KVK changed the

manufacturer listed in its ANDAs from UCB to DRL. Indictment at 7 ¶ 1. But that theory is wrong.

In this context, “manufacture” refers not just to initial production of the material, but to the testing

and quality assurance necessary to ensure that the API meets approved specifications. See 21

C.F.R. § 207.1 (“Manufacture includes manipulation, sampling, testing, or control procedures

applied to the final product or to any part of the process, including, for example, analytical testing

of drugs for another registered establishment’s drug.”); id. § 210.3(b)(12) (defining “manufacture”



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to include “testing[] and quality control of drug products”); FDA, Q7 Good Manufacturing

Practice Guidance for Active Pharmaceutical Ingredients: Guidance for Industry 1 (Sept. 2016)

(defining “manufacturing” to include “quality control” and “release” of APIs). UCB continued to

perform those functions throughout the relevant time, including for the material produced by DRL,

and therefore remained the manufacturer of record of the API.

        Longstanding FDA guidance underscores this point. It provides that FDA’s Center for

Drug Evaluation and Research (CDER) “must be notified when a manufacturer changes to a

manufacturing site that is different from those specified in the approved application . . . . Sites

include those owned by the applicant or contract sites used by an applicant.” FDA, Guidance for

Industry: Changes to an Approved NDA or ANDA, supra, at 8. The first sentence creates a

reporting obligation for a “manufacturing site” change by a “manufacturer.” Here, KVK changed

nothing; it was not the API “manufacturer.” Instead, it was UCB, the API “manufacturer,” that

shifted to a subcontractor. The second sentence also imposes no requirement on KVK, as KVK

(i.e., the “applicant”) neither “owned” nor had a “contract” with DRL. Nor was DRL “used” by

KVK, as DRL was under contract with UCB. FDA’s guidance links the word “used” to the words

“contract site,” indicating that it refers to an applicant who has a legal right to use the site. It would

stretch the word “use” beyond its plain meaning to suggest that an applicant “uses” a

manufacturing site that it does not own or contract to use. FDA’s guidance could have required

that “an applicant must notify CDER when any establishment involved in the manufacture of an

approved drug or API changes to a manufacturing site that is different from those specified in the

approved application.” But it did not. Instead, the guidance FDA actually wrote indicates that no

filing was required in this situation.




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       Second, even if FDA notification were required, FDA received it. It is undisputed that,

prior to KVK’s distribution of hydroxyzine containing the DRL material, UCB notified FDA of

its subcontracting to DRL by filing an amendment to its DMF describing the formulation activities

that would occur at DRL. KVK’s ANDAs incorporated UCB’s DMF by reference, which under

FDA regulations meant that the ANDAs incorporated all the information in that DMF. See 21

C.F.R. § 314.430(a) (providing that an ANDA “includes all data and information . . . incorporated

by reference in the . . . [ANDA], including . . . drug master files”). The ANDAs also included a

Letter of Access from UCB in which UCB “agree[d] to inform KVK-Tech, Inc. and the FDA of

any change in the content of the complete Drug Master File.” FDA thus had advance notice that

DRL was producing material pursuant to UCB’s DMF and that KVK was using it—and, notably,

FDA never raised any concerns in response. Having already received timely notice from one party,

the government is not entitled to wait almost a decade and then accuse another party of a crime for

not filing what is essentially a duplicate notice.

       Third, the byzantine regulatory scheme undergirding the government’s charges is simply

too vague and unclear to serve as a basis for criminal liability. It is well-established that “agencies

should provide regulated parties ‘fair warning of the conduct [a regulation] prohibits or requires.’”

Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 156 (2012) (alteration in original).

“[F]air warning requires that government agencies communicate their interpretation of their own

regulations with ‘ascertainable certainty’ before subjecting private parties to punishment under

that interpretation.” United States v. Harra, 985 F.3d 196, 213 (3d Cir. 2021). This is especially

true when regulatory violations would result in criminal liability. Under the rule of lenity, courts

interpret ambiguous criminal statutes and regulations in the defendant’s favor so as to ensure that




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an agency “clearly communicated its policies before a private party may be sanctioned—much

less criminally prosecuted—for violating them.” Id.

       FDA, however, has conceded that 21 C.F.R. § 314.70 falls far short of providing fair

warning regarding what constitutes a “condition established” in an ANDA. In 2015, it published

draft guidance “to address the lack of clarity with respect to what chemistry, manufacturing, and

controls (CMC) information in a marketing application constitutes an established condition . . .

that, if changed following approval, requires reporting to FDA” under § 314.70. FDA, Draft

Guidance, Established Conditions: Reportable CMC Changes for Approved Drugs and Biologic

Products: Guidance for Industry 1 (May 2015). The draft guidance acknowledged that “there has

not been a common understanding of the meaning of the phrase[] ‘each condition established in

an approved application,’” id. at 2, and that “[t]he practical meaning of th[is] phrase[] has been

described in many ways,” id. As a result, FDA concluded “there is confusion regarding which

elements of an application are considered to be established conditions,” which could lead, among

other things, to manufacturers not reporting “changes that should have been reported to FDA.” Id.

at 3. This backdrop of “confusion,” “lack of clarity,” and differing understandings of what

constitutes established conditions cannot support criminal charges predicated on the idea that

KVK’s supplier’s manufacturer’s decision to subcontract production of material for API changed

a “condition established” in KVK’s ANDAs.

       Furthermore, even if there is a change to a condition established in an ANDA, the

provisions governing how notification should be made to FDA, and whether the change can be

implemented without pre-approval from FDA, are themselves incurably vague. See 21 C.F.R.

§ 314.70(a)–(d). Under 21 U.S.C. § 356a(c), only “major changes” require that a supplement be

filed and approved by FDA before implementation of the changes. A major change is defined as



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one that is determined to have a “substantial potential to adversely affect the identity, strength,

quality, purity, or potency of the drug as they may relate to the safety or effectiveness of a drug.”

21 U.S.C. § 356a(c)(2); 21 C.F.R. § 314.70(b). But only a few examples of such changes are

provided by the governing provisions. Further, the statute contemplates that other types of changes

may or may not require some form of supplement or notification. See 21 U.S.C. § 356a(d). The

implementing regulation fills in the gap left by the statute and creates reporting obligations for two

other types of non-major changes and provides standards for each. Specifically, a change to an

established condition that is a “moderate” change, meaning a change “that has a moderate potential

to have an adverse effect on the identity, strength, quality, purity or potency of the drug product,”

requires the filing of a submission to FDA 30 days prior to distribution of the drug product made

using the change (a “CBE 30” submission), and the change can be implemented pending approval

once 30 days have elapsed unless FDA notifies the applicant otherwise. 21 C.F.R. § 314.70(c).

Finally, a change is considered “minor” and does not require pre-approval submission to FDA if

the change has a “minimal potential to have an adverse effect on the identity, strength, quality,

purity, or potency” of the final drug product. See id. § 314.70(d). Minor changes need only be

described in the final drug product annual report. Id. Under the regulation, a change that has no

potential at all to have an adverse effect on the final drug product need not even be reported in an

annual report. Id.

       Because the standards regarding what constitutes a “major,” “moderate,” or “minimal”

potential to cause an adverse impact on a final drug product are vague and confusing, and the

examples provided in the regulation do not cover nearly enough kinds of changes, FDA issued

initial guidance to further clarify the regulation in 2004. See FDA, Guidance for Industry: Changes

to an Approved NDA or ANDA, supra, at 8. However, this guidance was insufficient to put industry



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on notice of what the governing statute and regulations required, and the agency continued to issue

guidance. In light of the vague and confusing nature of these obligations, it is appropriate and

fitting that Congress never legislated a prohibited act in 21 U.S.C. § 331 tied directly to a violation

of 21 U.S.C. § 356a or its implementing regulation, 21 C.F.R. § 314.70.

       Ultimately, because FDA did not “communicate [its] interpretation of [§ 314.70] with

‘ascertainable certainty,’” Harra, 985 F.3d at 213, the government cannot subject KVK to

punishment under that interpretation. FDA’s failure to provide fair warning of what conduct

violates § 314.70 provides an additional and independent ground for dismissing both counts.

               2.      KVK Was Not Obligated to File a Field Alert Report Under 21 C.F.R.
                       § 314.81.

       The government’s allegation that KVK was required to file a field alert report under 21

U.S.C. § 314.81 is also wrong as a matter of law. See Indictment at 9 ¶ 8. That provision required

submission of a field alert report upon learning of information concerning (1) “any incident that

causes the drug product or its labeling to be mistaken for, or applied to, another article”; (2) “any

bacteriological contamination, or any significant chemical, physical, or other change or

deterioration in the distributed drug product”; or (3) “any failure of one or more distributed batches

of the drug product to meet the specification established for it in the application.” 21 C.F.R.

§ 314.81(b)(1).

       No such conditions are alleged here. The Indictment does not allege that the drug was

“mistaken for” another drug, that there was “any bacteriological contamination, or any significant

chemical, physical, or other change or deterioration,” or that there was any failure to meet a

specification. And, tellingly, the government did not charge KVK with conspiring to distribute, or

distributing, adulterated drugs. This charging decision tacitly concedes that the hydroxyzine

manufactured with DRL material was identical in all material respects to that manufactured with


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UCB material, such that no field alert report under § 314.81 was required—a point the government

also acknowledged years ago, when in 2014 it accepted KVK’s supplemental filing for the DRL

material, confirming that the DRL and UCB products are interchangeable.

        B.      Any Failure to Obtain FDA Approval for DRL Material Did Not Transform
                KVK’s Hydroxyzine into an Unapproved New Drug.

        The charges of mail fraud and conspiracy to distribute an unapproved new drug fail for the

additional reason that both charges rest on a second flawed premise: that the defendants’ alleged

conduct transformed KVK’s hydroxyzine into an unapproved new drug.

        First, consider the charged conspiracy to distribute an unapproved new drug. To establish

a conspiracy in violation of 18 U.S.C. § 371, the government must prove, inter alia, “the existence

of an agreement to achieve an unlawful objective.” United States v. Rigas, 605 F.3d 194, 206 (3d

Cir. 2010) (en banc) (internal quotation marks omitted).5 Here, the alleged unlawful objective was

distributing an unapproved new drug, in violation of 21 U.S.C. §§ 331(d) and 355(a). See

Indictment at 6 ¶ 16(b)(1). As set forth in the Indictment, the government’s theory is that KVK

and its co-defendants violated regulatory requirements by using DRL material without required

FDA approval, and that those regulatory violations meant that the ANDAs approval governing

KVK’s hydroxyzine evaporated such that the drug could no longer be lawfully distributed. See id.

at 8–9 ¶¶ 2, 5, 6, 8.

        This theory, however, rests on a basic legal error. It assumes, incorrectly, that KVK’s

alleged failures to make the filings required by 21 C.F.R. § 314.70 transformed an approved drug

into an unapproved one. See id. But that is wrong. Throughout the relevant period (and to this day),



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  The other elements of a § 371 violation are “the defendant’s knowing and voluntary participation
in the conspiracy” and “the commission of an overt act in furtherance of the conspiracy.” Rigas,
605 F.3d at 206.

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KVK’s ANDAs for hydroxyzine remained in effect. FDA could have sought to withdraw the

ANDAs for the drug, but did not. Therefore KVK did not violate 21 U.S.C. §§ 331(d) or 355(a)

by distributing the drug.

       Section 505 of the FDCA expressly addresses when and how FDA may withdraw approval

for a drug such that further marketing of the drug is prohibited. See 21 U.S.C. § 355(e). In

particular, it provides that except in cases of “imminent hazard to the public health,” FDA may

withdraw approval only after “due notice and opportunity for hearing to the applicant.” Id.6 This

process is exclusive. As the Supreme Court has recognized, “[§ 355(e)] leads to the conclusion

that an NDA remains effective unless it is suspended.” Weinberger, 412 U.S. at 633.

       Here, FDA never suspended KVK’s three approved ANDAs for its three dosage forms of

hydroxyzine (or even initiated the process for doing so), and KVK therefore never lost its

authorization to market hydroxyzine pursuant to those ANDAs. See, e.g., FDA, Product Details

for ANDA 040786, Orange Book: Approved Drug Products with Therapeutic Equivalence

Evaluations, https://bit.ly/3bXCQ8Q (last visited Nov. 30, 2021) (showing that KVK has held

valid ANDAs for hydroxyzine since 2007);7 see also Bell v. Boehringer Ingelheim Pharms., Inc.,

No. 17-1153, 2018 WL 2447788, at *1 (W.D. Pa. May 31, 2018) (taking judicial notice of the

Orange Book, a “public[ly] available list of drugs which have been approved [by FDA] for safety

and effectiveness” (internal quotation marks omitted)); United States v. Gimbel, 632 F. Supp. 713,

722 n.12 (E.D. Wis. 1984) (on motion to dismiss indictment, taking judicial notice of document


6
  The Secretary of Health and Human Services is authorized to immediately suspend approval of
a drug if he “finds that there is an imminent hazard to the public health,” but he must then “give
the applicant prompt notice of his action and afford the applicant the opportunity for an expedited
hearing under this subsection.” 21 U.S.C. § 355(e).
7
  Although KVK submitted separate ANDAs for each of the three dosage forms of hydroxyzine
(10 mg, 25 mg, and 50 mg), see Indictment at 4–5 ¶ 12, the Orange Book now lists all three dosage
forms under ANDA 040786.
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“not included on the face of the Indictment,” but “referred to there throughout”); United States v.

Lamont, 236 F.2d 312, 316-17 (2d Cir. 1956) (“It is elementary law that pleadings, both criminal

and civil, must be read in the light of the facts of which the court takes judicial notice.”). Thus, as

a matter of law, the government’s theory that KVK’s hydroxyzine was an unapproved drug that

“could not be lawfully distributed in interstate commerce,” Indictment at 15 ¶ 4, fails. So too does

its allegation that the defendants in this case conspired to introduce unapproved new drugs into

commerce. Id. at 6 ¶ 16(b)(1). Throughout the relevant period, “an approval of an application filed

pursuant to [§ 355(j)] [was] effective with respect to” KVK’s hydroxyzine, and therefore KVK

was authorized to introduce that drug into interstate commerce. 21 U.S.C. § 355(a).

       Furthermore, the government’s view that violations of 21 C.F.R. § 314.70 could, on their

own, vitiate an approval is foreclosed by both the FDCA and FDA regulations. In addition to

providing specific procedures FDA must follow to withdraw an approval, Section 505(e) sets forth

the specific grounds authorizing such action. See id. § 355(e); see also 21 C.F.R. § 314.150 (listing

such grounds). Notably, it specifically provides that FDA may withdraw approval for failure to

“make required reports, in accordance with a regulation or order under [§ 355(k)],” but does not

mention filings required by other provisions, such as 21 U.S.C. § 356a, the provision § 314.70

implements. Thus, under the “venerable canon of statutory construction” that “where a specific list

is set forth, it is presumed that items not on the list have been excluded,” Lewis v. Alexander, 685

F.3d 325, 347 (3d Cir. 2012), the government may not expand the grounds for withdrawal of an

approval to include a violation of § 314.70.8




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  By the same token, the failure to file applications regarding manufacturing changes pursuant to
21 U.S.C. § 356a and 21 C.F.R. § 314.70 is not listed among the prohibited acts in 21 U.S.C. § 331
that can trigger criminal or civil liability under 21 U.S.C. § 333.

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        FDA’s own regulations reflect this limitation. The regulations requiring reports pursuant

to § 355(k) specifically provide that “[i]f an applicant fails to . . . make reports required under this

section, FDA may withdraw approval of the application and, thus, prohibit continued marketing

of the drug product that is the subject of the application.” 21 C.F.R. §§ 314.80(k) (emphasis

added); see id. § 314.81. By contrast, § 314.70 contains neither this language nor anything

comparable. FDA’s omission of such language from § 314.70 recognizes that violations of that

provision cannot, on their own, result in any prohibition on further marketing of a drug. See Collins

v. Yellen, 141 S. Ct. 1761, 1782 (2021); see also Jimenez-Rodriguez v. Garland, 996 F.3d 190,

196 (4th Cir. 2021) (recognizing that the expressio unius canon may apply to regulations as well

as statutes). Moreover, even violations of §§ 314.80 and 314.81 do not automatically result in

withdrawal of approval, those provisions specify that FDA “may” withdraw approval for

violations, see Jama v. Immigr. & Customs Enf’t, 543 U.S. 335, 346 (2005) (“The word ‘may’

customarily connotes discretion.”), and to do so FDA still must follow the procedures set forth in

Section 505(e) and corresponding regulations. See 21 U.S.C. § 355(e); 21 C.F.R. §§ 314.150(b),

314.152.

        The government’s view of § 314.70 is also irrational as a practical matter. Under Section

505(e), FDA must withdraw approval only if it finds that a drug is unsafe or ineffective, or that the

application contained a material misrepresentation, see 21 U.S.C. § 355(e), and even then may do

so only “after due notice and opportunity for hearing to the applicant,” id. Yet under the

government’s view, any paperwork violation under § 314.70 automatically renders a drug an

unapproved new drug, without any further procedural safeguards and irrespective of any safety

concerns. This makes no sense.




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       Thus, even if the government were correct that KVK violated § 314.70 by using DRL

material without providing proper notification to FDA—and it is not, see supra Section I.A.1—

the government’s theory that this violation transformed hydroxyzine into an unapproved new drug

is wrong as a matter of law. Because FDA never withdrew approval of KVK’s hydroxyzine

ANDAs, the ANDAs “remain[ed] effective” and KVK did not violate § 355(a) by marketing the

drug. Weinberger, 412 U.S. at 633. The government therefore cannot establish that the object of

the alleged conspiracy—distributing hydroxyzine—was unlawful. This prong of the conspiracy

charge must therefore be dismissed. See Indictment at 6 ¶ 16(b)(1).

       The government’s misunderstanding of the applicable regulatory scheme is also fatal to the

mail fraud count. An essential element of mail fraud is a scheme to defraud, 9 which requires

“fraudulent misrepresentations or omissions reasonably calculated to deceive persons of ordinary

prudence and comprehension.” United States v. Pearlstein, 576 F.2d 531, 535 (3d Cir. 1978). Here,

the alleged fraudulent omission is that KVK allegedly concealed “that the drug as manufactured

was not approved by the FDA and could not be lawfully distributed in interstate commerce.”

Indictment at 15 ¶ 4. For the reasons set forth above, however, KVK could lawfully distribute

hydroxyzine in interstate commerce, and it therefore concealed nothing. Because the facts, as

alleged, fall outside the scope of what the mail fraud statute prohibits, the mail fraud count must

also be dismissed.




9
 The elements of mail fraud are (1) a scheme to defraud; (2) participation by the defendant in the
scheme with the specific intent to defraud; and (3) use of the mails in furtherance of the scheme.
United States v. Hannigan, 27 F.3d 890, 892 (3d Cir. 1994). To establish a scheme to defraud, a
misrepresentation or omission must relate to material facts. See Neder v. United States, 527 U.S.
1, 25 (1999).

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II.    KVK Cannot Be Charged with Conspiring with Its Own Agents.

       The conspiracy charge against KVK must also be dismissed because it alleges a conspiracy

among only KVK and its purported agents, Vepuri and Panchal. It is well-established, however,

that “a corporation cannot conspire with itself,” Siegel Transfer, Inc. v. Carrier Express, Inc., 54

F.3d 1125, 1134 (3d Cir. 1995) (internal quotation marks omitted), and thus conspiracy allegations

fail where they allege simply that the corporation has “conspire[d] with one who acts as its

agent,”10 Gen. Refractories Co. v. Fireman’s Fund Ins. Co., 337 F.3d 297, 313 (3d Cir. 2003);

accord, e.g., United States v. Basroon, 38 F. App’x 772, 781 (3d Cir. 2002) (per curiam) (affirming

mail and wire fraud convictions where jury was instructed that “[a] corporation cannot conspire

with its own officers and employees”); United States v. Anderson, 368 F. Supp. 1253, 1259 (D.

Md. 1973) (“[A] corporation cannot conspire with its employees and officers since a corporation

can only act through its agents.”). Here, according to the Indictment, Vepuri and Panchal were, at

all relevant times, agents of KVK. See, e.g., Indictment at 7 ¶ 18 (alleging that KVK was acting

“through defendants Murty Vepuri and Ashvin Panchal” (capitalization altered)). Therefore, as a

matter of law, KVK could not conspire with them, and Count One should be dismissed as against

KVK.




10
  The Third Circuit’s decision in United States v. Sain, 141 F.3d 463 (3d Cir. 1998), does not hold
otherwise. In that case, the court held that a corporation could be held vicariously liable for the
conspiracies of its agents only where an agent conspired with “another individual.” Id. at 475. But
Sain does not address whether that “[]other individual” can simply be another agent of the
corporation. See, e.g., United States v. Carroll, 144 F. Supp. 939, 942 (S.D.N.Y. 1956) (“It is true
that corporations often have been held to be parties to a conspiracy. However, in all such cases,
one corporation had been in concert with another or with individuals who were not members of the
corporation.”) (emphasis added) (citation omitted).


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III.    The Mail Fraud Charge Is Fatally Defective Also Because, as a Matter of Law, KVK
        Did Not Conceal Any Material Facts.

        A.     As a Matter of Law, KVK Did Not Engage in a Scheme to Defraud.

        In addition to resting atop an unsound regulatory foundation, the mail fraud charge must

be dismissed because the public record of KVK’s disclosures forecloses, as a matter of law, the

allegation that KVK concealed its use of DRL material from its customers. See Indictment at 15

¶ 4. An essential element of mail fraud is a fraudulent misrepresentation or omission. See

Pearlstein, 576 F.2d at 535. Therefore, as a matter of law, there can be no fraud where a company

proactively discloses the true state of affairs to the other party. See Lesavoy Found. v. Comm’r,

238 F.2d 589, 592 (3d Cir. 1956) (holding there was no fraud where the “taxpayer fully disclosed

the information required by the informational return”); Burke v. TV Guide Mag. Grp., Inc., 442 F.

App’x 356, 358 (9th Cir. 2011) (holding there was no fraud as a matter of law where the defendant

“plainly disclose[d] that double and special issues would be counted as two issues”); Smith v.

Grundy Cnty. Nat’l Bank, 635 F. Supp. 1071, 1076–77 (N.D. Ill. 1986) (holding that there was no

mail fraud where the relevant information was “disclosed in advance to the [Plaintiffs] in two

letters”).

        The government’s mail fraud charge against KVK ignores this basic principle. It is a matter

of public record, subject to judicial notice, that in December 2013 KVK issued a voluntary recall

for hydroxyzine that disclosed the very information to its customers that the Indictment alleges

KVK concealed. See Lamont, 236 F.2d at 316-17. As described in an FDA Enforcement Report,

on December 11, 2013, KVK recalled all three strengths of hydroxyzine, citing “Good

Manufacturing Practices Deviations: The product has an Active Pharmaceutical Ingredient from

an unapproved source.” See FDA, Enforcement Report, supra; see also United States v. Pitt-Des

Moines, Inc., 970 F. Supp. 1346, 1349 (N.D. Ill. 1997) (observing, in context of motion to dismiss


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an indictment, that “the court may take judicial notice of matters of public record”); Scanlon v.

Medtronic Sofamor Danek USA Inc., 61 F. Supp. 3d 403, 413 n.16 (D. Del. 2014) (taking judicial

notice of document “included in a database maintained by the FDA in the normal course of

business”). KVK’s recall notice, which went to all affected customers, see 21 C.F.R. § 7.49(a),

was even more detailed. It explained:

       KVK-Tech, Inc. has initiated this voluntary recall because the firm noted a
       regulatory filing requirement for the API that is shipped from UCB Pharma S.A.,
       Belgium but manufactured for UCB Pharma S.A. at Dr. Reddy's Laboratories in
       Mexico instead of the approved manufacturing site in the ANDA i.e. UCB Pharma
       S.A. located in Belgium.

See Exs. A–C. Thus, more than three weeks before “Customer 1,” AmerisourceBergen, allegedly

paid $393.97 for hydroxyzine manufactured with DRL material, see Indictment at 15–16 ¶¶ 4–5,

KVK had disclosed to AmerisourceBergen—along with all KVK’s other customers—the exact

regulatory issues that the Indictment alleges KVK concealed. Because the public record

conclusively shows that AmerisourceBergen was not defrauded, the mail fraud count must be

dismissed.

       B.      The Government Cannot Establish Materiality.

       For similar reasons, the government cannot establish that the information KVK allegedly

concealed was material to AmerisourceBergen. “[M]ateriality of falsehood is an element of the

federal mail fraud . . . statute[],” Neder v. United States, 527 U.S. 1, 25 (1999), and requires the

Government to establish that the alleged falsehood has “a natural tendency to influence, or [is]

capable of influencing, the decision of the decisionmaking body to which it was addressed,” id. at

16 (alteration in original) (internal quotation marks omitted). In assessing materiality under the

False Claims Act, the Third Circuit has recognized that alleged false statements are immaterial to

the government’s payment decision as a matter of law where the government pays claims despite

having knowledge of the alleged falsehood. See United States ex rel. Spay v. CVS Caremark Corp.,

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875 F.3d 746, 763–65 (3d Cir. 2017) (affirming summary judgment decision in defendant’s favor

when relator failed to dispute that CMS paid claims despite having knowledge of the allegedly

deceitful practices); United States ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 490 (3d Cir.

2017) (“Simply put, a misrepresentation is not ‘material to the Government's payment decision,’

when the relator concedes that the Government would have paid the claims with full knowledge

of the alleged noncompliance.”). The same principle applies here: The fact that

AmerisourceBergen still paid for the hydroxyzine after receiving KVK’s recall notice

demonstrates that the information KVK allegedly concealed—that it allegedly used unapproved

material from DRL to manufacture the drug—was immaterial to its purchase.

       AmerisourceBergen’s decision reflects the underlying fact that differences between the

material from DRL and from UCB itself were irrelevant. Indeed, as FDA itself acknowledged

when it approved KVK’s supplement for the DRL material in 2014, the API was identical in all

material respects. It was made according to the same specifications, through the same processes,

and subject to the same controls, testing, and quality assurance. Accordingly, no customers or

patients ever complained about the drug’s quality, and there were no adverse events or other

indications of harm reported in relation to the drug—facts reflected in the government’s failure to

charge KVK with distributing or conspiring to distribute adulterated drugs.11




11
   In fact, the government’s prosecution of this count is contrary to its own guidance: “Prosecutions
of fraud ordinarily should not be undertaken if the scheme employed consists of some isolated
transactions between individuals, involving minor loss to the victims, in which case the parties
should be left to settle their differences by civil or criminal litigation in the state courts.” U.S.
Dep’t of Justice, Justice Manual § 9-43.100 (updated Jan. 2020).

                                                 25
                                      CONCLUSION

      For the foregoing reasons, the Indictment should be dismissed.

                                                      Respectfully submitted,

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December 1, 2021




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this date the attached Memorandum of Law in Support of Motion

to Dismiss, with Exhibits, was filed electronically through the CM/ECF system, which will serve

it electronically on all counsel of record.



 December 1, 2021                                         /s/ Lisa A. Mathewson
                                                          Lisa A. Mathewson
Exhibit A
Exhibit B
Exhibit C
